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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

  In re:
                                                             Case No. 17-03285-swd
  Jae L. Burnham,
                                                             Adv. Pro. No. 17-80176-swd
                                    Debtor.
                                                             Chapter 7
  TDC International Corp.
                                                             Hon. Scott W. Dales
                                    Plaintiff,

  Jae L. Burnham,

                                 Defendant.
                                                 /

                ORDER DENYING MOTION FOR ENTRY OF DEFAULT JUDGMENT

        This matter comes before the court on the Motion for Entry of Default Judgment [Dkt.
 No. 10] (the “Motion”) filed by NATHAN D. PETRUSAK (the “Movant”), on behalf of creditor,
 TDS INTERNATIONAL CORP.

         On March 5, 2018, this court held a telephonic hearing and, for the reasons stated
 on the record,


           NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

           1. The Motion for Entry of Default Judgment is DENIED.

           2. Having waived service on the record, Defendant shall have twenty eight (28)
              days from entry of this order to Answer or otherwise respond to Plaintiff’s
              Complaint;

                                          [END OF ORDER]

 Prepared by:
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IT IS SO ORDERED.
Dated March 20, 2018
